           Case 4:13-cr-00011-JLK                 Document 102 Filed 09/23/13              Page 1 of 5 Pageid#:
                                                              429                               CLERK': OFFIGEt1.$.DIST.COURT
  AO2458    (Rev.W11-VAW Additions6/û5)JudgmentinaCrimi
                                                      nalCase                                          AT M NVILLE,VA
            Sheet1                                                                                          jqIj-
                                                                                                                qD
                                                                                                                 .




                                   UM TED STATES DISTRICT COURT                                           SEF23213
                                                                                                     JULI
                                                                                                        A .           L     c
                                           W estern D istrictofV irginia                            BY:               .
                                                                                                            EP        c E
        UNITED STATESOF AM ERICA                              JUDGM ENT IN A CRIM INAL CASE
                        V.                                    casexum ber: DvAw 413cR000011- 0o2
      M ICHAEL L.Roop                                         casex um ber:
                                                              U SM Num ber: 17233-084
                                                              StuartJ.Pearson
                                                              Defendant'sAttorney
THE D EFEN D AN T.
                 .
Z pleadedguiltytocountts) 3
Z pleadednolocontenderetocountts)
   which wasaccepted bythecourt.
Z wasfoundguiltyoncountts)
   afterapleaofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoffenses:
  Title& Section            NatureofO ffense                                                 OffenseEnded                 Count
21U.S.C.j841(a)(1) PossessionwiththeIntenttoDistributeMari
                                                         juana                                  9/19/2011                   3




      Thedefendantissentencedasprovidedinpages2through               5       ofthisjudgment.Thesentenceisimposedpursuantto
theSentencingReform A ctof1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
K Ccuntts)               1,4                Z is X aredismissedonthemotionoftheUnitedStates.
        ItisorderedthatthedefendptmustnotifytheUnjtedStatesattomeyforthisdijtrlctwithin30d faysof>nychangeofname,residepce
orma il
      ing
        d
        ' addr
             e s
               s unt
                   lt a
                      llfi
                         nes,res
                               tlt
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                                   on,co
                                       sts,and speclalasse
                                                         ssme  ptslmposedpy t
                                                                            hisludgmrnt a
                                                                                        re  ullypald.lforderedtopayiestitutlon,
thedefen antm ustnotlfythecourtandUnitedStatesattorney ofm aterlalchangeslneconomlcclrcum stances.
                                                              9/23/2013
                                                              DateoflmpositionofJudgment                    .
                                                                              .                                  #.
                                                                         '                      #
                                                              Signatu ofludge



                                                              Jackson L.Kiser,SeniorUnited StatesDistrictJudge
                                                              Nmne and Title ofJudge



                                                              Date
           Case 4:13-cr-00011-JLK              Document 102 Filed 09/23/13              Page 2 of 5         Pageid#:
                                                          430
AO 2458     (Rev.9/11-VAW Additions6/05)Judgmenti
                                                naCriminalCase
            SheetG -probation
                                                                                           Judgment--page    ;   of       5
DEFENDANT: MICHAEL L.ROOP
CA SE N UM BER :DVAW 4l3CR000011-002
                                                           PRO BA TION
The defendantishereby sentenced to probation fora term of:
 2 years.




Thedefendantshallnotcom mitanotherfederal,stateorlocalcrime.
 Thedefendantshallnotunlawfullypossessacontrolledjubstance.Thedefendantshallrefrain from anyunlaw fulusepfacontrolled
substance.Thedefendantshallsubm' -
                                 ltto onedrugtestwlthin 15daysofplacementonprobation andatIeastt'
                                                                                                wo periodlcdrugtests
thereafter,asdeterminedbythecourt.
C) Theabovedrug testingcondition issuspended,basedonthecourt'sdeterminationthatthedefendantposesalow risk of
       futuresubstanceabuse.(Check,fapplicable.
                                              )
K     Thedefendantshallnotpossessafireann,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,fapplicable)
K     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(Check (fapplicable.
                                                                                                        )
      ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(42U.S.C.j 16901,qtseq.)
      asdirectedbytheprobatlonoffigerytheBureapojprisons,oranystatesexoffenderregistrationagencyinwhichheorsheresldes,
      works,isasttldent,orwasconvlctedofaquallfylng offense. (Check,fapplicable.
                                                                               )
      Thedefendantshallparticipateinanapprovedprogram fordom esticviolence.(Check,fapplicable.
                                                                                             )
          Ifthisjudgmeptimposesatineorrestitution,itisaconditionofprobationthatthedefendantpayinaccordancewiththeScheduleof
Paymentssheetoft   'hlsludgment.
          Thedefendantmustcomply withthestandardconditionsthathavebeenadoptedbythiscourtaswellaswithany additionalconditions
on the attached page.

                                     STANDARD CO NDITIONS O F SUPERVISIO N
    1) thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationofficer;
    2) thedefendantshallreporttotheprobationofficerinamannerandfrequencydirectedbythecourtorprobationofficer;
    3) thedefendantshallanswertruthfullyallinquiriesbytheprobationofficerandfollow theinstructionsoftheprobationofficer;
    4) thedefendantshallsupporthisorherdependentsand meetotherfamilyresponsibilities;
    5) thedefendantshallworkregularly atalawfuloccupation,unlessexcused bytheprobationofficerforschooling,training,orother
        acceptablereasons;
    6) thedefendantshallnotifytheprobationofficeratleastten dayspriorto any changeinresidenceoremployment;
    7) thedefendantshallrefrainfrom excessiveuseofalcoholandshallnotpurchase,possessvuse,distribnte,oradministeranycontrolled
        substanceoranyparaphernaliarelatedtoanycontrolledsubstances,exceptasprescribedbyaphysiclan;
    8) thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegally sold,used,distributed,oradministered'
                                                                                                                   ,
    9) f
       thedefendantshallnotassoçiatewith anypersonsengagedincriminalactivityandshallnotassociatewithanypersonconvictedofa
          elony,unlessgrantedperm lssiontodosobytheprobatlonofficer;
 10) thedefendantshallpqrmitpprqbationofficertovisithim orheratanytimeathomeorelsewhereandshallpermitconfscationofany
        contrabandobservedln plalnvlew oftheprobationofficer;
        thedefendantshallnotifytheprobationofficerwithinseventy-twohoursofbeing arrestedorquestioned by alaw enforcem entofficer;
 12) thedrfendantshallnotenterintoanyagreementtoactasan informeroraspecialagentofalaw enforcementagencywithoutthe
        penm ssion ofthe court;and
 13) asdirectedbytheprpbationofficer,thgdefendantshallnotifythirdpartiesofrisksthatmaybeocclsionçdbythedefendant'scriminal
        re
        d cordorpersonalJustoryprcharactepsticsandshallpermittheprobatlonofficertomakesuchnotjficatlonsandtoconfirm the
         efendanfscompllancew lth such notlfication requirement.
          Case 4:13-cr-00011-JLK              Document 102 Filed 09/23/13            Page 3 of 5         Pageid#:
                                                         431
AO 2458    (Rev.9/l1-VAW Addi
                            tions6/05)JudgmentinaCriminalCase
           Sheet4C -Probation
                                                                                        Judgm ent-page    3   of      5
D EFEN DA N T: M ICHAEL L.ROOP
CA SE N U M BER: DVAW 413CR000011-002

                                    SPECG L CONDITIO NS OF SUPERVISIO N
  Thedefendantshallpayanyspecialassessmentimposedbythisjudgment.
  Thedefendantshallresidein aresidencefreeofGrearm s,amm unition,destnlctivedevices,anddangerousw eapons.
3.Thedefendantshallsubmittowarrantlesssearchand seizureofperson andpropertyasdirectedby theprobationofficer,todeterm ine
whetherthedefendantisinpossessionofGrearmsand illegalcontrolledsubstances.
          Case 4:13-cr-00011-JLK               Document 102 Filed 09/23/13            Page 4 of 5              Pageid#:
                                                          432
AO 2458   (Rev.9/11-VAW Addi
                           tions6/05)JudgmentinaCriminalCase
          Sheet5-Crim inalM onetaryPenalties
                                                                                    Judgment-Page          4      of      5
D EFEN D AN T: M ICHAEL L.ROOP
CA SE N U M BER :DVAW 413CR000011-002
                                          CRIM INAL M ONETARY PENAI,TIES
    Thedefendantm ustpaythetotalcriminalmonetarypenaltiesunderthescheduleofpaymentson Sheet6.

                    Assessm ent                                Fine                         Restitution
 TOTALS          $ 100.00                                  $                            $


IJ Thedetenninationofrestitutionisdeferreduntil            .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
    ahersuch determination.

EZI Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
     Ifthedefendantm akesapartialpayment,each payeeshallreceiveanapproxim atelyproportionedpaym ent,unlessspecifiedotherwise
     inthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto 18U.S.C j3664(1),allnonfederalvictimsmustbe
     paidbeforetheUnited Statesispaid.
NameofPavee                                       TotalLoss*            RestitutionOrdered                PrioritvorPercentaee




TOTALS                                                         $0.00                           $0.00

Z Restitutionamountorderedpursuanttopleaagreement$
r-1 Thedefendantmustpayinterestonrestitutionandafineofmorethan$2,500,unlesstherestitution orfineispaidin fullbeforethe
     fiheenthdayaherthedateofthejudgment,pursuantto12U.S.C.j3612(9.AllofthepaymentoptionsonSheet6maybesubject
     topenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).
Z Thecourtdeterminedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
  EEItheinterestrequirementiswaivedforthe (Z tine I   :El restitution.
  Z theinterestrequirementforthe EEI fine EEI restitutionismodifiedasfollows:


 #Findingsforthetotalam ountoflossesarerequiredunderChapters109A ,110,1IOA,and 113A ofTitle 18foroffensescom mittedon
 oraûerSeptember 13,1994,butbefore April13,1996.
              Case 4:13-cr-00011-JLK               Document 102 Filed 09/23/13                     Page 5 of 5     Pageid#:
                                                              433
AO 2458       (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
              Sheet6-SchedulcofPayments                                                    - ..



DEFENDANT: M ICHAEL L.ROOP                                                                                  Judgment-Page 5 of 5
CASE N UM BER:DVAW 413CR000011-002
                                                  SCH ED ULE O F PAY M EN TS
H avingassessedthedefendant'sability topay,thetoulcrim inalm onetarypenaltiesaredueimmediatelyandpayableasfollow s:

A (K Lumpsumpaymentof$100.00             immediately,balancepayable
        (r) notlaterthan                      ,or
        (Z) inaccordance      EJ      (7)D, IZ E, EI(JF or,IZ Gbelow);or
BI Z Paymenttobeginimmediately(maybecombinedwith EqlC, (Z D, Z F,or Z G below);or
           Paymentinequal                        (e.g.,weekly,monthly,quarterly)installmentsof$               overaperiodof
                        (e.g.,monthsoryears),tocommence                      (e.
                                                                               g.,30 or60days)aûerthedateofthisjudgment'
                                                                                                                       ,or
oI
 --I Paymentinequal                                    (e.g.,weekly,monthly,quarterly)installmentsof$                   overaperiodof
                           (e.g.,monthsoryears),tocommence                       (e.g.,30or60days)afterreleasefrom imprisonmenttoa
          term ofsupervision;or
EI
 --I Paymentduringtheterm ofsupervisedreleasewillcommencewithin                                   (e.g.,30or60days)afterreleasefrom
          imprisonm ent.Thecourtwillsetthepaym entplanbasedonanassessm entofthedefendant'sabilitytopayatthattim e;or
Ir r-1 Duringtheterm ofimprisonment,paymentinequal                              (e.g.,weekly,monthly,quarterly)installmentsof
          $                  ,or           % ofthedefendant'sincome,whicheveris greater           xtocommence               (e.
                                                                                                                              g.,30or
          60days)afterthedateofthisjudgment;AND paymentinequal                        (e.g.,weekly,monthly,quarterly)
          installmentsof$                dtlringthetennofsupervisedrelease,to commence                     (e.g.,30or60days)
          aherrelease from im prisonm ent.
          Specialinstnzctionsregardingthepaymentofcriminalm onetary penalties:



Any installmentscheduleshallnotprecludeenforcementoftherestimtion orfineorderby theUnited Statesunder18U.S.C jj3613and
3664(119.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmentorsupervision,andthedefendant
shallnotify theprobation officerandtheU .S.Attorneyofany changeinthedefendant'seconom iccircum stancesthatmay affectthe
defendant'sability to pay.
Al1crim inalmonet.arypenaltiesshallbemadepayabletotheClerk,U.S.DistrictCourt,2l0Franklin Rd.,Suite540,Roanoke,Virginia24011,
fordisbursem ent.
Thedefendantshallreceivecreditforal1paym entspreviously madetowardanycrim inalmonetarypenaltiesimposed.
Anyobligationtopayrestitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestitutionhasbeenorwillbe
entered.
  I
  --IJointandSeveral
      DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,and
      correspondingpayee,ifappropriate.




  Z Thedefendantshallpaythecostofprosecution.
  Z Thedefendantshallpaythefollowingcourtcostts):
  Z Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:
  SeePrelim inary OrderofForfeiture entered on 9/23/2013.



  Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)fineprincipal,
  (5)fineinterest,(6)communityrestimtion,(7)penalties,and(8)costs,includingcostofprosecution andcourtcosts.
